        Case 3:24-cv-06525-VC         Document 15       Filed 02/24/25      Page 1 of 1




                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  GUSTAVO ALDOFO PEREZ,
                                                  Case No. 24-cv-06525-VC
                 Plaintiff,

          v.                                      ORDER ADOPTING MAGISTRATE
                                                  JUDGE'S REPORT AND
  MERRICK GARLAND, et al.,                        RECOMMENDATION
                 Defendant.                       Re: Dkt. No. 13




       The Court has reviewed Judge Sallie Kim’s Report and Recommendation Re: Complaint

Filed by Gustavo Aldofo Perez and notes there are no objections to the Report. The Court adopts

the Report in every respect. Accordingly, the case is dismissed without prejudice.

       IT IS SO ORDERED.

Dated: February 24, 2025

                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
